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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,


                     Plaintiff,
                                                     Civil Docket No. 20-cv-2295 (EGS)
        v.

 UNITED STATES POSTAL SERVICE, et
 al.,


                     Defendants.


   NOTICE OF DATA AND OTHER INFORMATION PRODUCED TO PLAINTIFFS

       Pursuant to the Court’s November 4, 2020 Order, Defendants provide the Court with the

following data and other information produced to Plaintiffs:

       1.       Completed ballot sweep checklists for the following districts: Greensboro, Mid-

Carolinas, Central Pennsylvania, and Philadelphia Metro. See Exhibits 1–20.

       2.       A map showing each USPS district. See Exhibit 21.

       3.       A list of USPS facilities that handle letters and flats. See Exhibit 22.

       4.       Data concerning the number of ballots received between November 1, 2020 and

November 3, 2020 that were put into express mail. See Exhibit 23.

       Defendants further confirm that on November 4, 2020, the Greensboro Plant manager

walked the facility and did not locate any boxes of ballots.
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Dated: November 5, 2020
                            Respectfully submitted,

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                            Acting Assistant Attorney General

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                            /s/ John Robinson
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